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                                            #: 1806



                           DECLARATION OF DR. OLUSIMBO IGE

                I, Olusimbo Ige, declare as follows:

        1.      I am a resident of the City of Chicago in the State of Illinois. I am over the age of

 18 and have personal knowledge of all the facts stated herein, except to those matters stated upon

 information and belief; as to those matters, I believe them to be true. If called as a witness, I could

 and would testify competently to the matters set forth below.

        2.      I currently serve as Commissioner of Chicago’s Department of Public Health

 (“CDPH”). I have held this position since December 2023. Before my appointment as CDPH

 Commissioner, I served as the Managing Director of Programs at the Robert Wood Johnson

 Foundation. There, I oversaw partnerships with health organizations nationwide working towards

 making public health and health care systems accountable and equitable.

        3.      As Commissioner of CDPH, I make strategic decisions, in collaboration with the

 Mayor’s Office and stakeholders across the City, to manage public health threats; design and

 deliver disease control services; and protect the food, air and environment for 3 million Chicago

 residents. I serve as a liaison and subject matter expert on all related policy matters and use of

 authorities and resources to promote and protect public health. I have built and currently manage

 an executive team of 10, a budget of $750M, and approximately 760 employees, with a dedication

 to sustaining a strong public health workforce and capacity.

        4.      On March 25, 2025, CDPH received 4 Notices of Awards terminating grants and

 cooperative agreements from the U.S. Department of Health and Human Services (“HHS”),

 Centers for Disease Control and Prevention (“CDC”). Specifically, CDC terminated supplemental

 funds for the following awards: (1) Immunizations and Vaccines for Children (Award #6

 NH23IP922613-05-14); (2) Epidemiology and Laboratory Capacity for Prevention of Emerging

 Infectious Diseases (Award #6 NU50CK000556-05-16); (3) Chicago Community Health Workers
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 for COVID Response and Resilient Communities (Award #6 NU58DP007270-02-09); and (4)

 Initiative to Address COVID- 19 Health Disparities in Chicago’s High Risk and Underserved

 Communities (Award #6 NH75OT000082-01-06).

        5.      All terminations purported to be “for cause” based on the end of the COVID

 pandemic, rather than any failure by CDPH to follow the terms or conditions of the awards. Indeed,

 each award termination included identical form language stating that the “end of the pandemic

 provides cause to terminate COVID-related grants and cooperative agreements.”

        6.      Had these 4 supplemental awards not been terminated, the City would have had

 access to up to $125 million in funding for work to be done under these programs and to fund

 staffing to conduct important public health work. Award terminations like these will be particularly

 felt by Chicago and its residents, as 82% of CDPH’s budget relies on federal funding. Staffing

 levels at CDPH will drop significantly, limiting our ability to prepare and respond to future public

 health emergencies such as measles and H5N1.

        7.      Moreover, an abrupt rescission of approximately $125 million in previously

 awarded grant funds will impact more than 20 contracts and the retention of 130+ employees.

        8.      I highlight two of these awards and the effects of their terminations below.

                            Immunizations and Vaccines for Children

        9.      In 2019, CDC’s National Center for Immunization and Respiratory Diseases

 (“NCIRD”) invited applications for a Cooperative Agreement award titled “Immunization and

 Vaccines for Children” (“VFC”).

        10.     The Immunization Program grant’s purpose is to support public health systems to

 ensure high vaccination coverage and low incidence of vaccine-preventable diseases. The

 Immunization grant is also intended to support the ability to respond to threats of vaccine-



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 preventable diseases. The Immunization grant allows increased access to vaccines for eligible

 children by supplying government-purchased vaccines to enrolled health care providers.

        11.     Immunization Program award recipients are tasked with vaccine program

 implementation; Project activities include provider and public education; vaccine distribution and

 inventory management; supporting immunization outreach, Immunization Information System

 maintenance and enhancement; and vaccine-preventable disease surveillance. Recipients are

 required to make use of quality improvement to reduce or eliminate vaccination coverage

 disparities and protect vulnerable populations.

        12.     For the grant period starting July 2019, CDPH applied for and was awarded a

 Immunization and VFC cooperative agreement for $5,879,237.00 on June 26, 2019. Since that

 time, CDPH has continuously received and used these funds in a manner fully consistent with

 CDC’s statements regarding the nature of the grant and CDPH’s grant application.

        13.     Beginning in June 2020, CDPH received supplemental Immunization COVID-19

 VFC funds appropriated through the Coronavirus Aid, Relief, and Economic Security Act

 (“CARES” Act).

        14.     In September 2020, CDC told CDPH that it had until July 5, 2021 to expend all

 COVID-19 funds awarded. CDC, however, repeatedly extended this deadline.

        15.     CDPH has used Immunization funds, both core and COVID-19 supplemental, for

 essential public health services in Chicago, including providing vaccines approved by CDC to

 protect children against 19 different diseases at no cost for eligible children through doctors

 enrolled in the program, made vaccination services at non-traditional sites, and

 increase surveillance for vaccine-preventable diseases. These vaccinations prevent thousands of

 illnesses and hospitalizations in Chicago.



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        16.     At the time the City received CDC’s termination notice, CDPH had $6.5 million in

 funds available and until June 30, 2025 to spend them. However, on February 2025, CDPH

 submitted a request to extend the deadline to June 30, 2027. CDPH expected the extension to be

 granted, and acted in reliance upon those extra months to spend the supplemental award funds. In

 fact, the Grant Solutions management system that CDPH accessed showed that the City’s

 extension request had been approved.

        17.     Without these funds, CDPH will have to reduce its annual influenza walk-in clinics

 throughout the City of Chicago. CDPH will also have to reduce its direct services and reduce the

 staff who investigate preventable disease outbreaks.

        18.     Without these funds, CDPH will also have reduced resources to investigate critical

 surveillance data and immunization coverage that allows CDPH to monitor and quickly respond

 to outbreaks in schools, health care facilities, and other congregate settings.

        19.     On March 25, 2025, without any prior notice or indication, CDC informed CDPH

 that effective March 24, 2025, that supplemental funds for the grant were being terminated. A true

 and correct copy of the grant award termination notice is attached as Exhibit A.

        20.     The purported basis for the grant termination was “for cause;” the cause being the

 end of the pandemic. Specifically, the termination notice stated that “[t]hese grants and cooperative

 agreements were issued for a limited purpose: to ameliorate the effects of the pandemic. Now that

 the pandemic is over, the grants and cooperative agreements are no longer necessary as their

 limited purpose has run out.” Ex. A. No further information or clarification was provided, and

 CDC did not list any non-compliance by CDPH.

        21.     CDPH relied and acted upon its expectation and understanding that HHS would

 fulfill its commitment to provide Immunization funding it had awarded to CDPH. CDPH’s reliance



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 on Immunization funds included entering into contracts with delegate agencies or for professional

 services and by hiring employees. CDC’s immediate termination of the Immunization

 supplemental funding impacts the City’s ability to continue its VFC work with these delegate

 agencies that support routine and seasonal vaccination in faith-based settings.

        22.        Prior to the grant award termination on March 25, 2025, CDC did not provide

 CDPH with notice, written or otherwise, that the grant administered by CDPH was in any way

 unsatisfactory.

                    Epidemiology and Laboratory Capacity for Prevention and
                            Control of Emerging Infectious Diseases

        23.        Since 1995, the Epidemiology and Laboratory Capacity (“ELC”) Program at the

 CDC has provided the nation’s health departments with funding to reduce illness and related deaths

 caused by a wide range of infectious disease threats. CDPH has received annual funding through

 cooperative agreements since 2011, focused on strategic direction and technical assistance for core

 capacities in epidemiology, laboratory, and health information technology activities. In addition

 to strengthening core infectious disease capacities nationwide, the annual cooperative agreement

 also supports myriad specific infectious disease programs.

        24.        As of 2019, the CDC’s ELC Cooperative Agreement funding to states and localities

 had grown to keep up with the increased responsibilities at the state and local level for emerging

 infectious disease control, notably for emergency responses to Ebola and Zika, and for expanded

 investment to curb antibiotic resistant infections and modernize public health laboratory capacity.

        25.        CDPH applied for and was awarded an ELC cooperative agreement for $1,985,369

 on July 11, 2019. Since that time, CDPH has continuously received and used ELC funds in a

 manner fully consistent with CDC’s statements regarding the nature of the grant and CDPH’s grant

 application.

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        26.     In April 2020, CDPH received supplemental ELC COVID-19 funds appropriated

 through the CARES Act. CDPH subsequently received additional supplemental funds

 appropriated through both the Paycheck Protection Program and Health Care Enhancement Act of

 2020 and the Coronavirus Response and Relief Supplemental Appropriations Act.

        27.     In July 2020, CDC told CDPH that it had until May 31, 2022 to expend all COVID-

 19 funds awarded. CDC repeatedly extended this deadline, increasing the funding’s period of

 performance.

        28.     CDPH has used ELC funds for essential public health services in Chicago,

 including working with Chicago Public Schools to implement disease surveillance information

 technology through the ServiceNow (“SNOW”) program. This program funds the City’s public

 schools’ ability to quickly share information about communicable diseases, like varicella, measles,

 and pertussis and improves the school district’s response time to diseases and helps families get

 timely information.

        29.     At the time of CDC’s termination, CDPH had $111 million in funds available and

 until June 31, 2026 to spend them.

        30.     CDPH had obligated those funds to continue critical support for CDPH public-

 facing dashboards, which give Chicagoans up-to-date and hyperlocal knowledge about what

 diseases are surging, who is getting sick, and how protected the City’s neighborhoods are. The

 ELC funds were also earmarked to enable CDPH to rapidly estimate vaccine coverage across

 multiple settings, including schools and congregate spaces.

        31.     Without this funding, CDPH will no longer be able to continue critical services.

 For example, CDPH will lack resources to continue to support development of laboratory capacity

 at the City’s Special Pathogen Treatment Centers. This work was started in 2024 to provide



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 instruments and reagents to allow hospitals to rapidly test for pathogens of high consequence, like

 Ebola. Less than $150,000 of the anticipated $1,000,000 funds have been distributed thus far.

        32.     On March 25, 2025, without any prior notice or indication, the CDC informed

 CDPH that effective March 24, 2025, that supplemental components of the ELC funding were

 being terminated. A true and correct copy of the grant award termination notice is attached as

 Exhibit B.

        33.     The purported basis for the grant termination was “for cause;” the cause being the

 end of the pandemic. Specifically, the termination notice stated that “[t]hese grants and cooperative

 agreements were issued for a limited purpose: to ameliorate the effects of the pandemic. Now that

 the pandemic is over, the grants and cooperative agreements are no longer necessary as their

 limited purpose has run out.” Ex. B. No further information or clarification was provided, and

 CDC did not list any non-compliance by CDPH.

        34.     Prior to the termination, CDPH did not receive any separate notice or

 communications from the CDC regarding the termination of this grant beyond the revised Notice

 of Award made directly into the Grant Solutions system.

        35.     Prior to the termination, CDC did not provide CDPH with notice, written or

 otherwise, that the grant administered by CDPH was in any way unsatisfactory.

        36.     CDPH relied and acted upon its expectation and understanding that HHS would

 fulfill its commitment to provide ELC funding it had awarded to CDPH. CDPH’s reliance on ELC

 funds included entering into contracts with delegate agencies or for professional services and by

 hiring employees. CDC’s immediate termination of the ELC funding impacts the City’s ability to

 continue its work with these delegate agencies.




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       I declare under penalty of perjury under the laws of the United States that, to the best of my

 knowledge, the foregoing is true and correct.

                Executed on March 28, 2025, at Chicago, Illinois.




                                                 _____________________________________
                                                        Dr. Olusimbo Ige




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                  EXHIBIT A
          Case 1:25-cv-00121-MSM-LDA Document 4-16 Filed 04/01/25 Page 10 of 20 PageID
                DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1815SERVICES      Notice of Award
                                                                                                    Award# 6 NH23IP922613-05-14
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922613
                                                                                                    Federal Award Date: 03/24/2025



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   CHICAGO DEPARTMENT OF PUBLIC HEALTH             6 NH23IP922613-05-14
                                                12. Unique Federal Award Identification Number (FAIN)
   111 W Washington St FL 4
                                                   NH23IP922613
   Chicago, IL 60602-2703                       13. Statutory Authority
   [NO DATA]                                       Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
                                                   amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   07
3. Payment System Identifier (ID)
   1366005820A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   366005820
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   956049399
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   K8F7VYLKGN64                                    Administrative Action
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Maribel Chavez-Torres
   Deputy Commissioner                                       Summary Federal Award Financial Information
   Maribel.Chavez-Torres@cityofchicago.org
                                                19. Budget Period Start Date           07/01/2023 - End Date 03/24/2025
   312-747-9882
                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                           $0.00
   Dr. Olusimbo Ige                                 20b. Indirect Cost Amount                                                                         $0.00
   Commissioner
                                                21. Authorized Carryover                                                                     $8,672,187.00
   olusimo.ige@cityofchicago.org
   312-747-9870                                 22. Offset                                                                                   $5,030,007.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $15,522,378.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $15,522,378.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 03/24/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $123,613,541.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Percy Jernigan
 hbo1@cdc.gov
 770-488-3973



30. Remarks
 Department Authority




                                                                                                                                              Page 1
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             DEPARTMENT OF HEALTH AND HUMAN
                                        #: 1816SERVICES      Notice of Award
             Centers for Disease Control and Prevention                                        Award# 6 NH23IP922613-05-14
                                                                                               FAIN# NH23IP922613
                                                                                               Federal Award Date: 03/24/2025



Recipient Information                                33. Approved Budget
                                                     (Excludes Direct Assistance)
Recipient Name                                        I. Financial Assistance from the Federal Awarding Agency Only
 CHICAGO DEPARTMENT OF PUBLIC HEALTH                  II. Total project costs including grant funds and all other financial participation
 111 W Washington St FL 4                            a. Salaries and Wages                                                      $8,243,573.00
 Chicago, IL 60602-2703
                                                     b. Fringe Benefits                                                         $2,473,316.00
 [NO DATA]
                                                          c. Total Personnel Costs                                             $10,716,889.00
                                                     d. Equipment                                                                  $28,010.00
Congressional District of Recipient
 07                                                  e. Supplies                                                                  $325,019.00
Payment Account Number and Type                      f. Travel                                                                     $95,775.00
 1366005820A4
Employer Identification Number (EIN) Data            g. Construction                                                                    $0.00
 366005820                                           h. Other                                                                   $2,714,982.00
Universal Numbering System (DUNS)
                                                     i. Contractual                                                            $11,245,062.00
 956049399
Recipient’s Unique Entity Identifier (UEI)           j. TOTAL DIRECT COSTS                                                     $25,125,737.00
 K8F7VYLKGN64
                                                     k. INDIRECT COSTS                                                          $4,098,835.00

 31. Assistance Type                                 l. TOTAL APPROVED BUDGET                                                  $29,224,572.00
 Cooperative Agreement
                                                     m. Federal Share                                                          $29,224,572.00
 32. Type of Award
 Other                                               n. Non-Federal Share                                                               $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT         DOCUMENT NO.        ADMINISTRATIVE      OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                   CODE            CLASS            LISTING                 ASSISTANCE
  1-9390GKL        20NH23IP922613C5           IP             41.51            93.268                                   $0.00      75-2124-0943
  1-9390GUU      20NH23IP922613UDSPC5         IP             41.51            93.268                                   $0.00      75-2124-0943
  1-9390GWA        20NH23IP922613C6           IP             41.51            93.268                                   $0.00       75-X-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1817 SERVICES Notice of Award
                                                                                             Award# 6 NH23IP922613-05-14
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922613
                                                                                             Federal Award Date: 03/24/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                              #: 1818
                                      AWARD ATTACHMENTS
CHICAGO DEPARTMENT OF PUBLIC HEALTH                                        6 NH23IP922613-05-14
1. Terms & Conditions - Termination
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 TERMS AND CONDITIONS OF AWARD



 Termination: The purpose of this amendment is to terminate the use of any remaining COVID-19
 funding associated with this award. The termination of this funding is for cause. HHS regulations
 permit termination if “the non-Federal entity fails to comply with the terms and conditions of the
 award”, or separately, “for cause.” The end of the pandemic provides cause to terminate COVID-
 related grants and cooperative agreements. These grants and cooperative agreements were issued
 for a limited purpose: To ameliorate the effects of the pandemic. Now that the pandemic is over, the
 grants and cooperative agreements are no longer necessary as their limited purpose has run out.
 Termination of use of funding under the listed document number(s) is effective as of the date set
 out in your Notice of Award.

 Impacted document numbers are included on page 2 of this Notice of Award (NoA).

 No additional activities can be conducted, and no additional costs may be incurred, as it relates to
 these funds. Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award
 activities under other funding may continue consistent with the terms and conditions of the award.

 Final Federal Financial Report (FFR, SF-425): Within 30 days please submit Final FFRs for
 impacted document numbers. The FFR should only include those funds authorized and expended
 during the timeframe covered by the report. The ﬁnal report must indicate the exact balance of
 unobligated funds and may not reﬂect any unliquidated obligations. Should the amount not match
 with the ﬁnal expenditures reported to the Payment Management System (PMS), you will be
 required to update your reports to PMS accordingly.

 All other terms and conditions of this award remain in effect.
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                  EXHIBIT B
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                 DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1821SERVICES      Notice of Award
                                                                                                  Award# 6 NU50CK000556-05-16
                 Centers for Disease Control and Prevention
                                                                                                  FAIN# NU50CK000556
                                                                                                  Federal Award Date: 03/24/2025



Recipient Information                                                       Federal Award Information
1. Recipient Name                               11. Award Number
   CHICAGO DEPARTMENT OF PUBLIC HEALTH             6 NU50CK000556-05-16
                                                12. Unique Federal Award Identification Number (FAIN)
   111 W Washington St FL 4
                                                   NU50CK000556
   4th Floor                                    13. Statutory Authority
   Chicago, IL 60602-2703                          301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   [NO DATA]
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CK19-1904 Epidemiology and Laboratory Capacity for Prevention and Control of Emerging Infectious
   07                                              Diseases (ELC)
3. Payment System Identifier (ID)
   1366005820B8                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.323
   366005820
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   956049399
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   K8F7VYLKGN64                                    Administrative Action
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Dr. Stephanie Black
   Medical Director/Project Director                         Summary Federal Award Financial Information
   stephanie.black@cityofchicago.org
                                                19. Budget Period Start Date         08/01/2023 - End Date 03/24/2025
   312-746-6034
                                                20. Total Amount of Federal Funds Obligated by this Action                                       $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                      $0.00
   Dr. Olusimbo Ige                                 20b. Indirect Cost Amount                                                                    $0.00
   Commissioner
                                                21. Authorized Carryover                                                               $16,903,805.00
   olusimbo.ige@cityofchicago.org
   312-747-9870                                 22. Offset                                                                              $1,023,989.00
                                                23. Total Amount of Federal Funds Obligated this budget period                          $4,717,047.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                    $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                           $4,717,047.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 08/01/2019 - End Date 03/24/2025
 Terrian Dixon
                                                27. Total Amount of the Federal Award including Approved
 Grants Management Officer
                                                    Cost Sharing or Matching this Period of Performance                               $472,859,868.57
 thd4@cdc.gov
 770-488-2774
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Aaron Borrelli
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Percy Jernigan
 zvt3@cdc.gov
 4046398715



30. Remarks
 Department Authority




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             DEPARTMENT OF HEALTH AND HUMAN
                                        #: 1822SERVICES      Notice of Award
             Centers for Disease Control and Prevention                                       Award# 6 NU50CK000556-05-16
                                                                                              FAIN# NU50CK000556
                                                                                              Federal Award Date: 03/24/2025



Recipient Information                               33. Approved Budget
                                                    (Excludes Direct Assistance)
Recipient Name                                       I. Financial Assistance from the Federal Awarding Agency Only
 CHICAGO DEPARTMENT OF PUBLIC HEALTH                 II. Total project costs including grant funds and all other financial participation
 111 W Washington St FL 4                            a. Salaries and Wages                                                     $3,342,415.00
 4th Floor
                                                     b. Fringe Benefits                                                        $2,026,046.00
 Chicago, IL 60602-2703
 [NO DATA]                                               c. Total Personnel Costs                                              $5,368,461.00
                                                     d. Equipment                                                                      $0.00
Congressional District of Recipient
 07                                                  e. Supplies                                                                     $950.00
Payment Account Number and Type                      f. Travel                                                                   $107,701.00
 1366005820B8
Employer Identification Number (EIN) Data            g. Construction                                                                   $0.00
 366005820                                           h. Other                                                                  $1,923,775.00
Universal Numbering System (DUNS)
                                                     i. Contractual                                                           $13,046,245.00
 956049399
Recipient’s Unique Entity Identifier (UEI)           j. TOTAL DIRECT COSTS                                                    $20,447,132.00
 K8F7VYLKGN64
                                                     k. INDIRECT COSTS                                                         $2,197,709.00

 31. Assistance Type                                 l. TOTAL APPROVED BUDGET                                                 $22,644,841.00
 Cooperative Agreement
                                                     m. Federal Share                                                         $22,644,841.00
 32. Type of Award
 Demonstration                                       n. Non-Federal Share                                                              $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT          DOCUMENT NO.       ADMINISTRATIVE     OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                   CODE           CLASS            LISTING                 ASSISTANCE
  0-9390EWQ        19NU50CK000556C3           CK            41.51            93.323                                   $0.00      75-2024-0943
  1-9390GKT      19NU50CK000556EDEXC5         CK            41.51            93.323                                   $0.00      75-2122-0140
   0-9390F7F       19NU50CK000556C4           CK            41.51            93.323                                   $0.00       75-X-0140
   0-9390EPX       19NU50CK000556CV           CK            41.51            93.323                                   $0.00      75-2022-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1823 SERVICES Notice of Award
                                                                                             Award# 6 NU50CK000556-05-16
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000556
                                                                                             Federal Award Date: 03/24/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                               AWARD ATTACHMENTS
CHICAGO DEPARTMENT OF PUBLIC HEALTH                                  6 NU50CK000556-05-16
1. REVISED: TERMS AND CONDITIONS
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 TERMS AND CONDITIONS OF AWARD



 Termination: The purpose of this amendment is to terminate the use of any remaining COVID-19 funding
 associated with this award. The termination of this funding is for cause. HHS regulations permit
 termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
 separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
 cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
 ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
 agreements are no longer necessary as their limited purpose has run out. Termination of use of funding
 under the listed document number(s) is effective as of the date set out in your Notice of Award.

 Impacted document numbers are included on page 2 of this Notice of Award (NoA).

 No additional activities can be conducted, and no additional costs may be incurred, as it relates to these
 funds. Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award activities
 under other funding may continue consistent with the terms and conditions of the award.

 Final Federal Financial Report (FFR, SF-425): Within 30 days please submit final FFR’s for impacted
 document numbers. The FFR should only include those funds authorized and expended during the
 timeframe covered by the report. The final report must indicate the exact balance of unobligated funds
 and may not reflect any unliquidated obligations. Should the amount not match with the final
 expenditures reported to the Payment Management System (PMS), you will be required to update your
 reports to PMS accordingly.

 All other terms and conditions of this award remain in effect.
